Case 2:19-cv-04237-SVW-PJW Document 43 Filed 08/12/19 Page 1 of 2 Page ID #:1101
 Name and address:
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                                        UNITED STATES DISTRICT COURT
                                       CENTRAL DISTRICT OF CALIFORNIA
NANO FOUNDATION, LTD., a New York non-profit                       CASE NUMBER:
corporation; and COLIN LeMAHIEU, an individual,                                    2:19-cv-04237-SVW-PJW
                                                   PLAINTIFF(S)
                                v.

DAVID C. SILVER, an individual,
                                                                         NOTICE OF CHANGE OF ATTORNEY
                                                                        BUSINESS OR CONTACT INFORMATION
                                                 DEFENDANT(S)


                                                       INSTRUCTIONS
Attorneys with pending cases:
If you are counsel of record in a case currently pending in this district and you need to update your business or contact
information, you must file and serve this form in each of your pending cases. Doing so will satisfy your notice obligation
under Local Rule 83-2.4. In addition, if you are a registered CM/ECF User, you must log in to your CM/ECF account and
update your information directly in the CM/ECF System. See Local Rule 5-4.8.1.
Attorneys with no pending cases:
If you are a registered CM/ECF User with no cases currently pending in this district, and you need to update your
business or contact information in the Court's records, you must log in to your CM/ECF account and update your·
information in the CM/ECF System. Doing so satisfies your obligations under Local Rules 5-4.8.1 and 83-2.4; you do not
need to submit this or any other form.
If you are not a registered CM/ECF User, have no cases currently pending in this district, and need to update your
business or contact information in the Court's records, please complete this form (you may leave the caption and case
number blank) and e-mail it to emaiCupdate@cacd.uscourts.gov with the subject line "Attention: Attorney Admission
Clerk." Doing so satisfies your notice obligation under Local Rule 83-2.4.
Please note:
Use this form only to make changes to an attorney's business or contact information, not to change a party's
representation. If you need to add, remove, or substitute counsel in a particular case, use Form G-O 1 ("Request for
Approval of Substitution or Withdrawal of Counsel") or Form G-123 ("Notice of Appearance or Withdrawal of Counsel").


SECTION I - IDENTIFYING INFORMATION

Name: Joshua H. Herr
Current e-mail addressofrecord:jherr@rmslaw.com
                                     ~--=------------------------------------------------------------
Check one:      [{] Member of the Central District Bar; CA Bar No: 301775                       D   Admitted pro hac vice
                                                                       ----------------
Counsel of record for (if filing in a pending case):   NANO FOUNDATION, LTD.; and COLIN LeMAHIEU


If you are an Assistant United States Attorney or Deputy Federal Public Defender in this district, indicate your agency and
office:
                     D FPDO                  D USAO (specify): 0 Civil Division 0 Criminal Division
                       D    Los Angeles          D     Santa Ana             D    Riverside

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SECTION II - UPDATED INFORMATION
[{] I need to update the e-mail address associated with my CM/ECF account. My new primary e-mail address is:
      joshua.herr@diamondmccarthy.com
    Note: if you need to update the secondary e-mail addressees) associated with your CMIECF account, you must log in to CMIECF
     and makes those changes yourself. Court staff will not update that information for you.
f7l I need to update other business or contact information. Please replace my current contact information with the following
l.!J   new information:
       Attorney's name changed to:
                                      -----------------------------------------------------------------
       Name of new firm or government agency: DIAMOND MCCARTHY LLP
                                                ------------------------------------------------------
       New address: 1999 Avenue of the Stars, 11th Floor, Los Angeles, California 90067

       New telephone number: (866) 659-5570                            New fax number: (415) 263-9200
                                  ~~--------------------                                  ~~-----------------------
       New e-mail address (jor non-CMIECF Users):
                                                     ------------------------------------------------------
SECTION III - APPLICATION TO CLOSED CASES
If you are a CM/ECF User, you will have the opportunity to change your contact information in cases that are no longer
pending when you update your information in CM/ECF. If you are not a registered CM/ECF User, using this form to
update your information will affect pending and future cases only, unless you check one of the boxes below:
       D    Update my information in all cases (including closed cases) in which I am listed as counsel of record.
       D    Update my information in only the following cases (include case name and number; attach additional pages if necessary):




SECTION IV - REQUEST A CM/ECF LOGIN AND PASSWORD
If you are not a registered CM/ECF User, you may register simply by checking the box below and providing an e-mail
address. (Attending a training session is no longer required.)

            I wish to register as a CM/ECF User. Please send a CM/ECF login and password to me at the e-mail address
            given above (or at the following e-mail address, if none given above:                                   ).
        o   I agree to abide by all Court rules, orders, policies, and procedures governing use of the Court's CM/ECF
            System, and I understand that the combination of my user ID and password will serve as my signature when
            filing documents. I will protect the security of my password, and will notify the Court immediately if I
            suspect that my password has been compromised.


SECTION V - SIGNATURE
Pursuant to Rule 83-2.4 of the Local Rules for the Central District of California, I hereby notify the Clerk of Court and all
parties to this action, if any action is named above, that my business or contact information has changed as indicated
herein.

       Date: August   ~019




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